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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


  Civil Action No. 1:21-cv-00026-SKC

  DEBORAH LAUFER, an individual,

  Plaintiff,

  v.

  PANDEY HOTEL DENVER, LLC,

  Defendant.


       DEFENDANT’S NOTICE OF NO OPPOSITION TO ADMINISTRATIVE CLOSURE


          Per the Court’s Order, dated March 22, 2021, Defendant Pandey Hotel Denver, LLC hereby

  provides notice that it does not oppose administrative closure of this case pending final resolution

  of the appeal in Laufer v. Looper, et al., Case No. 21-1021.

          Dated: March 23, 2021

                                                       Respectfully submitted,

                                                       /s/ Haley W. Maglieri
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                                                       Attorneys for Defendant




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                                CERTIFICATE OF SERVICE

          I hereby certify that on this 23rd day of March, 2021, the foregoing DEFENDANT’S
  NOTICE OF NO OPPOSITION TO ADMINISTRATIVE CLOSURE was filed and served
  on all parties and other interested persons electronically.

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   Attorney for Plaintiff, Deborah Laufer



                                            /s/ Lauren Colbert
                                            Lauren Colbert




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